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                                   74268


                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

NETLIST, INC.,                     )
                                   )
            Plaintiff,             )
                                   )
                                       Case No. 2:22-cv-293-JRG
      vs.                          )
                                   )
                                       JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;       )
SAMSUNG ELECTRONICS AMERICA,       )
INC.; SAMSUNG SEMICONDUCTOR        )
INC.,                              )
                                   )
            Defendants.            )


        NETLIST, INC.’S NOTICE REGARDING AGREED BILL OF COSTS
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        Pursuant to Dkt. 855 (Final Judgment) filed December 2, 2024, Plaintiff Netlist, Inc. hereby

files this Notice Regarding Agreed Bill of Costs.

        The parties have met and conferred and have reached agreements on all amounts. There are

no disputes for the Court to resolve. Defendants have had the opportunity to review the Agreed Bill

of Costs, and do not dispute the figures listed therein, or that the calculations are agreed. Plaintiff’s

Agreed Bill of Costs are attached hereto as Exhibit A.

Dated: December 16, 2024                            Respectfully submitted,

                                                    /s/ Jason G. Sheasby

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                                                Attorneys for Plaintiff Netlist, Inc.

                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 16, 2024, a copy of the foregoing was served to all counsel

of record.

                                                      /s/ Jason Sheasby
                                                      Jason Sheasby




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